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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff(s),                           )
                                               )
vs.                                            ) Case No. 4:98CR00501 ERW
                                               )          4:03CR00171 CEJ
ALLISON BROWN,                                 )          4:08CR00549 CDP
                                               )
       Defendant(s).                           )

                                              ORDER

       This matter comes before the Court on Motion for Bond / Furlough [doc. #74 - filed in

4:98CR00501 ERW] by Defendant Allison Brown.

       The Court has carefully reviewed the Motion for Bond / Furlough and the Probation file. It

is the Court’s view that no finding can be made that Defendant Allison Brown would present no flight

risk or a danger to others. Additionally, the Court has no authority to order the Marshals Service

to transport Ms. Brown to visit her father.

       Accordingly,

       IT IS HEREBY ORDERED that Defendant’s Motion for Bond / Furlough [doc. #74] is

DENIED.

       So Ordered this 26th day of November , 2008.



                                               _________________________________________
                                               E. RICHARD WEBBER
                                               UNITED STATES DISTRICT JUDGE
